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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 TERRE HAUTE DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )       Cause No. 2:21-mj-26-CMM
                                              )
SHANE MEEHAN,                                 )
                                              )
               Defendant.                     )

                                             ORDER

       This matter is before the Court on the parties’ Joint Motion to Extend Time to File

Indictment.

       Having reviewed the Motion, the Court FINDS that a 60-day enlargement of time to

obtain an indictment or file an information in this matter is appropriate. This enlargement of

time is warranted for the reasons stated in the motion and is, therefore, excludable pursuant to

Title 18, United States Code, Section 3161(h).

       The Court FINDS that this period of delay is warranted and results from the fact that:

(1) the parties have had only a brief amount of time available for preparation; (2) the nature of

the case and the potential charges that the Defendant is facing render this case both sensitive and

complex; and (3) a 60-day enlargement of time will permit the parties to complete their

investigations and prepare this case.

       For those reasons, the Court FINDS that the ends of justice will be served by granting

this continuance and outweigh the best interests of public and the Defendant in a speedy trial.
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        IT IS THEREFORE ORDERED that the deadline for the Government to return an

indictment or file an information in this case is extended from August 6, 2021 to October 5,

2021. It is further ordered that the period of delay from the granting of this Motion shall be

excluded from the Speedy Trial Act computation.



DATE:       July 20, 2021
                                                       Hon. Craig M. McKee
                                                       United States Magistrate Judge
                                                       Southern District of Indiana


Distribution to all registered counsel via electronic notification.
